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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Western Division

Patrick Pursley
                                 Plaintiff,
v.                                                   Case No.: 3:18−cv−50040
                                                     Honorable Philip G. Reinhard
City of Rockford, et al.
                                 Defendant.



                           NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, December 12, 2019:


        MINUTE entry before the Honorable Lisa A. Jensen: On plaintiff's motion for rule
to show cause [156], plaintiff shall personally serve a copy of the motion and notice of
presentment on Marvin Windham. See Local Rule 37.1(a). Plaintiff shall file proof of
service on Mr. Windham before the 1/13/2020 motion hearing. The status hearing set for
1/16/2020 is stricken and reset for 1/13/2020 at 10:00 AM to coincide with the motion
hearing. Counsel shall appear in person. Mailed notice (jk, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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